






NO. 07-01-0275-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL E



JANUARY 24, 2003



______________________________




	PRIMROSE OPERATING COMPANY, INC. AND


PALMER OILFIELD CONSTRUCTION INC., APPELLANTS


V.



WALTER JAMES JONES, III AND JONA JONES, INDIVIDUALLY AND AS NEXT
FRIENDS OF ALLISHA AND TY JONES, MINOR CHILDREN, APPELLEES



_________________________________


FROM THE 50TH DISTRICT COURT OF KING COUNTY;


NO. 99-589; HONORABLE DAVID HAJEK, JUDGE


_______________________________


Before QUINN and REAVIS, JJ., and BOYD, S.J. (1)

OPINION


	This is an appeal from a judgment awarding damages for injuries arising from an
oilfield accident. In the judgment, Walter James Jones III and his wife Jona Jones,
individually and as next friend of their minor children, were awarded approximately 2.7
million dollars in actual and exemplary damages. These parties will be collectively referred
to as Jones.  The trial court defendants were Primrose Operating Company (Primrose),
Palmer Oilfield Construction Company (Palmer), and Mike Byrd Casing Crews, Inc. (also
referred to as Byrd Power Tong Service, Inc.).  Each defendant filed a notice of appeal, but
Byrd subsequently settled with Jones and is not a party to this appeal.  Finding merit in
Primrose's first issue and Palmer's second issue, we reverse the judgment of the trial court
and remand the cause for further proceedings in accordance with our opinion.

	The background of this appeal begins with the fact that Primrose was the operator
of an oil and gas well in King County.  It contracted with Palmer to drill the well and run
casing down to 3600 feet on a per-foot basis.  Additional work, to a maximum of 3650 feet,
would be on a day work basis.  Walter Jones was an employee of Palmer.  Palmer, in turn,
hired Byrd to perform part of the work, including supplying power tongs and elevators.  In
July 1997, soon after installation of the casing had begun, the crew encountered difficulty
raising joints of casing into place for assembly.  The difficulty arose because handles on
the elevator struck the derrick while the casing was raised.  Some of the workers felt the
handles on the elevator were too long.  However, no other elevator was available and the
work continued.

	On one occasion, the elevator handles hung on the derrick and, before the driller
could stop the winch, the handles acted as a lever, causing the free-hanging end of the
casing joint to swing out.  As it swung back down, the casing struck Jones on the back of
his head, causing him the injuries for which recovery was sought.

	The Jones parties filed suit against Primrose and Byrd Casing.  Primrose sought
indemnification from Palmer under their written agreement.  Palmer's worker's
compensation carrier, Old Republic Insurance, filed a plea in intervention asserting it was
subrogated to any recovery Jones obtained.  The King County trial jury returned a verdict
for Jones in which it found both Primrose and Byrd negligent and attributed 90 percent of
the responsibility to Primrose and 10 percent to Byrd.  In conformity with the jury's verdict,
the trial court rendered judgment for Jones for $2,690,000 in damages, and $741,624 in
prejudgment interest.  That Old Republic had a subrogation interest of $85,608 in the
judgment was undisputed.  The trial court also found that Primrose was entitled to
indemnification from Palmer in the amount of $1,000,000, together with $77,000 in attorney
fees.  Each party filed a notice of appeal, but Byrd subsequently settled.

	In pursuing its appeal, Palmer presents five issues for our review.  They are
whether:  1) the trial court erred in denying their motions for mistrial based on a tainted jury
panel, 2) the trial court erred in refusing to submit an issue on Primrose's right of control
over Palmer, 3) the evidence was legally or factually sufficient to support the finding that
Primrose retained a right of control over Palmer and/or Byrd sufficient to create a duty on
Primrose to Jones, 4) the delay in obtaining the reporter's record entitles Palmer to a new
trial, and 5) the trial court correctly held Primrose was entitled to indemnification from
Palmer under the terms of their written contract.

	Primrose presents the following issues:  1) whether Jones' failure to secure a finding
on its control over Palmer requires reversal of the judgment against Primrose, 2) whether
the appearance of partiality on the part of the jurors requires reversal on public policy
grounds, 3) whether the trial court erred in awarding damages for loss of consortium for a
child born after the injury, and 4) whether Palmer should be required to pay post-judgment
interest on its indemnity obligation.

	Jones presents six issues in which they ask us to decide whether:  1) a pretrial
"focus group" conducted by Jones probably caused any injury, 2) Primrose's right of control
was established by the contract between it and Palmer, 3) the evidence was legally and
factually sufficient to show Primrose's employee retained a right of control over Palmer's
work, 4) Primrose's employee retained a right of control over Palmer's work, 5) Primrose
waived its complaint regarding loss of consortium damages for after-born children, and 6) 
the reporter's record is sufficient for the purposes of this appeal.

	Initially, we will consider the issues concerning jury selection, which encompass
Primrose's issue two, Palmer's issue one, and Jones' issue one.  The facts giving rise to
these issues come from what Primrose and Palmer describe as a mock trial (2) conducted
before the jury selection in the case.  It is undisputed that King County has a population
of just over 300.  Anticipating some difficulty in obtaining a jury, the district court had the
clerk summon 130 veniremen.  The jury summons were mailed on Monday, September 12,
2000.  At some time prior to September 14, 2000, one of Jones' attorneys contacted Dr.
Blodgett, a veterinarian at the 6666 Ranch in King County.  He was seeking use of a
conference room for a meeting in preparation for the trial, however, he did not explain the
nature of the meeting.  Another of Jones' attorneys, the lead counsel at trial, spoke to a
secretary at the ranch, telling her that they wanted to conduct a "focus group" to help them
decide how to best present their case at the upcoming trial.

	Jones' attorney asked the secretary to assemble a group who was representative
of the county population, but had not been called for jury duty.  The secretary assembled
a group of approximately seven adults, including a high school teacher and five students
from the teacher's seniors government class.  On Thursday, September 14, 2000, the
group met at the ranch.  Some time before the mock trial, the first attorney obtained a list
of those summoned for jury duty in the case; however, he did not recall if he provided the
list to Jones' trial attorney beforehand.

	Jones' trial attorney presided over the mock trial and was unaware who would be
participating before he arrived at the ranch.  He asked the participants if any of them had
been summoned for jury duty in the case and excluded one person who had been called. 
The attorney did not ask if any of the group's family members had been summoned to the
trial venire.  At the meeting, Jones' attorney summarized the evidence he expected would
be presented by each party in the case using flip charts and a portion of a video deposition. 
At the conclusion of the meeting, which lasted approximately two hours, the mock jury held
Primrose 80 percent responsible and opined that the Jones parties were entitled to
$7,000,000 in damages.  Each participant was given a $30 restaurant gift certificate for
their participation in the mock trial.

	The King County Judge learned of the mock trial on the same day that it was
conducted.  The judge went to the ranch and obtained a list of all the participants.  The
judge provided the list to the district clerk, who compared it to the members of the jury
venire for the purpose of identifying family relationships between members of the two
groups and found several relationships between the two lists.  A copy of the mock trial list
was also furnished to the district judge.

	The case was called for trial on Monday, September 18, 2000.  Primrose, Palmer,
and Byrd learned of the mock trial before the jury voir dire began and jointly moved for a
mistrial on the basis that the mock trial had tainted the entire venire.  They also objected
to Jones' failure to furnish them a list of the participants in the mock trial which, they
argued, seriously impaired their ability to conduct an effective voir dire of the panel.  The
trial court did not rule on the motion immediately, but carried it on during the voir dire
examination.

	Even so, the effect of the mock trial was significantly explored during the jury voir
dire examination.  The parties explored the relationships between venire members and
mock trial participants, as well as the effect of the mock trial on the community view of the
dispute.  One venire member, Mr. Pettiet, pointed out that the mock trial concluded only
a few hours before a local junior high football game attended by county residents.  He was
serving food at the game and, he said, the mock trial, including the $7 million damage
finding, was a major topic of conversation.  He averred he heard about the case "from
every direction," and ultimately stated that he could not set aside what he had heard about
the case, which resulted in him being struck for cause.  The trial court also allowed a strike
for cause in the instance of Dr. Blodgett, (3) who had questioned the ethics of the plaintiffs'
attorney's actions in conducting the mock trial at the time.  At the conclusion of the voir
dire, the motion for mistrial was again urged, but it was overruled.

	In challenging the refusal of their mistrial motion, both Primrose and Palmer initially
argue the trial court erred because Jones' attorney's conduct violated Texas Disciplinary
Rules of Professional Conduct 3.06 and 3.07, which address respectively, maintaining the
integrity of the jury system and trial publicity.  Parenthetically, we note that paragraph 15
of the preamble to the rules specify that they are not designed to be the standards for
procedural decisions.  Those rules govern disciplinary proceedings and are only applicable
to other types of proceedings to the extent they might manifest public policy.  See Shields
v. Texas Scottish Rite Hosp. for Crippled Children, 11 S.W.3d 457, 459 (Tex. App.--Eastland 2000, pet. denied).

	Texas Rule of Civil Procedure 327 governs the instances in which a party is entitled
to a new trial because of jury misconduct.  That rule authorizes a court, after taking
evidence on the alleged misconduct, to grant a new trial if it finds misconduct by the jury,
including any communication made to the jury, or that the juror gave an incorrect answer
during voir dire.  Tex. R. Civ. P. 327.  By including communications made to the jury, it is
clear that "jury misconduct" is not limited to acts of jurors.  A trial court's denial of a motion
for mistrial will not be disturbed without a showing that the court abused its discretion.  Till
v. Thomas, 10 S.W.3d 730, 734 (Tex.App.--Houston [1st Dist.] 1999, no pet.). (4) 

	Even construing Disciplinary Rules 3.06 and 3.07 as explicating improper
communications under Rule 327, the record does not show the trial court abused its
discretion by denying the motion for mistrial.  Rule 3.06(a)(2) prohibits an attorney from
seeking to influence a venireman or communicate with any member of the venire.  Initially,
we note that the record reveals only one communication between Jones' attorneys and any
member of the venire.  That was Jones' trial attorney's conversation in which he discovered
that one person included in the group at the 6666 Ranch, who was a member of the jury
trial venire, but wanted to serve as a member of the mock trial.  It is undisputed that his
conversation with the person was limited to explaining that he could not participate in the
mock trial.  That communication was not improper because it amounted to an effort to
avoid a potential violation of Disciplinary Rule 3.06(a).

	Rule 3.07 prohibits an attorney from making statements "that a reasonable person
would expect to be disseminated by means of public communications" that he should know
will have a substantial likelihood of prejudicing a proceeding.  There is nothing in the record
that shows any of the matters discussed in the mock trial were disseminated by "means
of public communications."  To adopt appellants' apparent position that word-of-mouth in
a small community such as King County is sufficient to fall within the purview of
dissemination by "means of public communications" as used in the Rule would be to
effectively rewrite the Rule and tell the trial court it abused its discretion by failing to do so. 
We decline to start down that road.

	Whether Jones' attorneys sought to influence members of the venire by
communicating with non-members is a fact question for resolution by the trial court.  We
have noted that it is undisputed that Jones' attorneys took steps to ensure that no 
members of the venire participated in the mock trial.  There was not, however, any
evidence that Jones' attorneys asked if family members of the mock trial participants had
been summoned to serve on the jury venire in the case, nor was there any showing that
the attorneys had instructed the participants not to speak about the case to others in the
community before the trial.

	Appellants also emphasize the evidence that the mock trial concluded just hours
before the local junior high football game and that there was testimony that news of the
outcome of the mock trial and the verdict of seven million dollars "spread like wildfire" in
the county.  That emphasis arises from the testimony of venire member Pettiet's statement
that "Y'all got to understand . . . we're a big county but we don't have many people and it
just spreads like wildfire, and it goes to the school and the post office and the courthouse. 
That's all we've got."  Taken in context, use of the plural "spreads" is referring to the
pronoun "it" and refers to news generally, rather than the specific news about the mock trial
outcome.  Thus, that statement was a general description of the county's culture rather
than evidence establishing the extent to which information about the mock trial reached
members of the venire.  Pettiet gave much more specific information about his view as to
the community's knowledge about the facts before the mock trial and the damages they
found.

	As we have noted, in order to grant a mistrial, even assuming arguendo there was
misconduct, the trial court must find the misconduct was material and probably resulted in
injury.  Tex. R. Civ. P. 327(a).  In advancing the proposition that harm may be inferred from
the misconduct itself, appellants point to Texas Employers Ins. Assoc. v. McCaslin, 317
S.W.2d 916 (Tex. 1958) for that proposition.  We agree that McCaslin supports that
proposition, however, it does not stand for the proposition that such an inference is
mandatory and irrefutable.  In determining probable injury, we are to consider the record
as a whole.  Here, the record shows the voir dire examination of the jury venire included
rather detailed exploration of the relationships between venire members and participants
in the mock trial.  The parties had a full opportunity to inquire into what, if any, information
had been conveyed to each venire member and what effect it might have on them.

	Out of a venire of 130 people, the parties sought, and were granted, four strikes for
cause.  Appellants have failed to identify any specific members of the jury they were forced
to accept because they were denied additional strikes for cause.  Based on the record
before us, we cannot say the trial court abused its discretion in denying appellants' mistrial
motions.  We overrule Palmer's first, and Primrose's second issues.

	We next consider the failure of the trial court to submit a jury question on Primrose's
right of control over Palmer.  The common law doctrine of negligence requires a showing
of three elements: 1) a legal duty owed by one person to another; 2) a breach of that duty;
and 3) damages proximately resulting from the breach.  El Chico Corp. v. Poole, 732
S.W.2d 306, 311 (Tex. 1987).  The existence of a defendant's duty to the plaintiff is the
threshold inquiry in a negligence case and has presented difficulty for many courts in the
context of a premise occupier's duty to contractors' employees.  The determination of duty
is a question of law for the court to decide from the facts surrounding the occurrence.  Id. 
Because any liability of Palmer in this case must be derivative of Primrose's liability, our
duty inquiry must necessarily focus on Primrose.

	The two potential sources of Primrose's duty to Jones are as the occupier of the
premises and as the general contractor in drilling the well.  An owner or occupier of land
generally has a duty to use reasonable care to make and keep the premises safe for
business invitees.  Clayton W. Williams, Jr. v. Olivo, 952 S.W.2d 523, 527 (Tex. 1997).  As
general contractor for the well, there were two potential sources of Primrose's duty to
maintain safe premises.  It could be liable for injuries arising from premises defects or from
negligent activity.  Id. at 527.  A claim that is the contemporaneous result of negligence is
a negligent activity claim rather than one for premises defect.  Keetch v. Kroger Co., 845
S.W.2d 262, 264 (Tex. 1992) (premise defect); Redinger v. Living, Inc., 689 S.W.2d 415
(Tex. 1985) (negligent activity).  Under the facts of this case, Jones' claim is one for
negligent activity.

	As a general rule, a property owner or a general contractor does not have a duty to
see that an independent contractor performs the work in a safe manner.  Abalos v. Oil
Development Co., 544 S.W.2d 627 (Tex. 1976).  An exception exists when the general
contractor retains or exercises control over the subcontractor's activities.  Redinger, 689
S.W.2d at 418.  In that circumstance, the general contractor owes a duty to exercise
reasonable care in the supervision of the subcontractor's activity.  Id. 

	In advancing their challenge, appellants cite the rule that a plaintiff must obtain a
finding on each essential element of their cause of action or face reversal unless the
opponent did not object to the failure to submit a question on the issue or the element is
established as a matter of law.  McKinley v. Stripling, 763 S.W.2d 407, 410 (Tex. 1989). 
Absent waiver, the missing element cannot be deemed found pursuant to Rule 279. 
Physicians &amp; Surgeons General Hosp. v. Koblizek, 752 S.W.2d 657, 660 (Tex. App.--Corpus Christi 1988, writ denied).

	In response to appellants' argument about the right of control question, Jones
presents two arguments:  1) Primrose's right of control is established as a matter of law by
the contract between it and Palmer, and 2) appellants waived any complaint arising from
the omission of a control finding.  Jones' contract argument requires a consideration of
relevant portions of the contract between Palmer and Primrose.  The contract was a
standard "footage drilling contract" and provided that Primrose was to pay Palmer $10 per
foot to drill and install casing in the well to a depth of 3600 feet.  It also provided "all drilling
below the . . . specified contract depth shall be on a day work basis as defined herein." 
The contract went on to specify a maximum depth of 3650 feet.

	The Term "footage basis" means contractor [Palmer] shall furnish the
equipment, labor, and perform services . . . to drill a well as specified by
[Primrose] to the contract footage depth. . . . While drilling on a footage basis
[Palmer] shall direct, supervise, and control drilling operations and assumes
certain liabilities to the extent specifically provided for herein. . . .  The term
"daywork basis" means [Palmer] shall furnish equipment, labor, and perform
services as herein provided, for a specified sum per day under the direction,
supervision and control of [Primrose].  Except for such obligations and
liabilities specifically assumed by [Palmer, Primrose] shall be solely
responsible and assumes liability for all consequences of operations by both
parties while on a daywork basis, including results and all other risks or
liabilities incurred in or incident to such operations.


Because it is undisputed that the well exceeded 3600 feet in depth, Jones argues the
contract became a day work contract, giving control to Primrose the moment the drill bit
exceeded 3600 feet and all subsequent operations were conducted on a day work basis. 
Appellants argue that the provisions governing day work only applied to work performed
below the 3600-foot contract depth.  We agree with that interpretation of the contract.

	Neither party cites authority construing the relevant provisions of this standardized
contract and, likewise, we have found a paucity of such authority.  However, in Cleere
Drilling Co. v. Dominion Exploration &amp; Production, 2002 U.S. Dist. LEXIS 4424 (N.D. Texas
Mar 18, 2002), the court construed a similar contract observing that the parties "had
obviously contemplated the fluctuating nature of the Contract's basis."  Id.

	When construing a written contract, our goal must be to determine the shared intent
of the parties as expressed in the agreement.  National Union Fire Ins. v. CBI Industries,
Inc., 907 S.W.2d 517, 520 (Tex. 1995).  Paragraph 4.7(a) of the contract provides that
work done on a day work basis includes "all drilling below the contract footage depth as
provided in Par. 3.1 including the setting of any string of casing below such depth."  The
evidence confirms that casing is only installed after the well is drilled.  See also Cox v. KTM
Drilling, Inc., 395 S.W.2d 851, 853 (Tex.Civ.App.-Amarillo 1965, writ ref'd n.r.e.).  Thus,
if, as Jones contends, after drilling below the contract depth of 3600 feet, all operations
were governed by the contract's day work provisions, the reference in paragraph 4.7
relating to setting casing below that depth would not be necessary.  Additionally, paragraph
7.1 of the contract specifically states that casing set "below the footage contract depth"
would be on a day work basis.

	Other provisions of the contract contemplate temporary operations on a day work
basis with a return to a footage basis.  For example, paragraph 4.7 provides that any repair
work or work beyond that specified in the contract would be on a day work basis.  When
construing a contract, we must consider the entire agreement giving effect to each of its
provisions.  Small &amp; Associates, Inc. v. Southern Mechanical, Inc., 730 S.W.2d 100, 104
(Tex. App.--Dallas 1987, no writ).  The construction of the contract urged by Jones would
require us to ignore the reference to setting casing contained in paragraph 4.7(a).

	For the reasons we have explicated, we hold the contract does not reveal an intent
that all operations conducted after the well exceeded the footage contract were to be
conducted on a day work basis.  We are mindful of Jones' argument that this construction
might result in some difficulty in knowing which provisions govern at any particular point in
the operation.  See Startex Drilling Co. v. Sohio Petroleum Co., 680 F.2d 412, 416 (5th Cir.)
(discussing the determination as to whether drilling is operating on a footage or day work
basis); Samson Resources Co. v. Quarles Drilling Co., 783 P.2d 974 (Okla. 1989) (finding
contract required notice to operator of change from footage to day work basis).  However,
this possibility cannot justify us in departing from the plain language of the contract or the
rules of construction.

	The record is not clear how much casing had been run in the well when Jones's
injury occurred.  It does reveal that the crew began having problems after running just a
few joints.  The record does not show how many joints were put in before Jones's injury,
but there is evidence that six to ten joints were run after the injury, thus indicating that the
injury did not occur while working at the bottom of the well.  Jones's burden to show duty
made it incumbent on him to establish the parties were operating under the day work
provisions of the contract.  The evidence is legally insufficient to support such a finding. 
Thus, we reject Jones' argument that Primrose's right of control over Palmer's operations
was established as a matter of law. 

	In their third issue, Jones argues that the evidence was legally and factually
sufficient to show Primrose's representative retained the right to forbid unsafe practices. 
 In supporting that argument, Jones correctly cites the rule that when "considering a factual
sufficiency issue, the reviewing court reviews all the evidence . . . and reverses only if the
challenged finding is so against the great weight and preponderance of the evidence as
to be manifestly unjust." (Emphasis added).  However, because Jones failed to obtain a
jury finding on Primrose's right of control, a review for factual and legal sufficiency is not
applicable.  They are limited to showing that Primrose's control over Palmer was
established as a matter of law.  McKinley, 763 S.W.2d at 410.

	We next consider the argument presented in Jones' fourth issue, namely, that any
error arising from the failure to obtain a finding on Primrose's control over Palmer was
waived.  Primrose submitted a list of proposed jury questions, definitions, and instructions. 
The individual items are not marked as granted or denied, but the document is file marked
September 14, 2000.  As relevant here, it contained the following proposed question:  "Did
Primrose Operating Company control the means, methods, and details of Palmer Oilfield
Construction Company's work on the casing operation in question?"  It went on to list
several rights that would not amount to control.  An identical question was requested with
regard to Primrose's control over Byrd.

	At the charge conference, Primrose presented its objections to the court's charge,
specifically pointing out its request for definitions on negligence, dangerous conditions, and
a request for "the court to submit on [sic] did Primrose Operation Company control the
means, methods and details of Byrd Casing Crews' work on the casing operation in
question."  It did not specifically identify its question with regard to its control over Palmer's
work.  The trial court stated, "[t]he exceptions and objections presented by defendant
Primrose are denied."  Palmer adopted Primrose's objections and urged additional
requests and objections of its own.  See Tex. R. Civ. P. 279.

	Citing Carr v. Smith, 22 S.W.3d 128 (Tex.App.--Fort Worth 2000, pet. denied),
Jones argues Palmer's purported adoption of Primrose's written requests was ineffective,
resulting in a waiver by Palmer also.  However, Carr did not involve an express adoption
of another party's requests or objections in the trial court.  Thus, it is not applicable here.

	The question now presented to us is whether Primrose's failure to orally argue each
question submitted by it to the trial court resulted in a waiver of the questions not
specifically identified in the charge hearing.  The standard for reviewing the sufficiency of
requests and objections to the jury charge is articulated in State Dept. of Highways &amp;
Public Transp. v. Payne, 838 S.W.2d 235 (Tex. 1992).  In the course of its opinion, after
commenting on the complexity previously existing in our jurisprudence to preserve charge
error, the court adopted a simple rule to do so.  It opined that the relevant inquiry is
whether the request "called the trial court's attention to the issue."  Id. at 239-40.  The court
continues to adhere to this test.  See Coastal Liquids Transp., L.P. v. Harris County
Appraisal Dist., 46 S.W.3d 880, 885 n.14 (Tex. 2001).  Even so, this standard must be
applied in the context of Rule of Civil Procedure 274's admonition making requests
"obscured or concealed by . . . numerous unnecessary requests."  However, here,
Primrose's written requests for jury questions regarding its control of Palmer and Byrd, as
well as its oral presentation of control over Byrd, were sufficient to call the trial court's
attention to the issues and thus preserve the question for appellate review.  

	Thus, we must sustain Primrose's first issue and Palmer's second issue and hold
that Jones failed to establish Primrose's duty to him.  Because duty is a necessary element
of Jones' negligence claim, our holding requires us to reverse the trial court judgment
against Primrose.  That disposition also requires reversal of Primrose's claim for
indemnification against Palmer.  In summary, that holding requires that we reverse the
judgment of the trial court and render judgment that Jones take nothing against Primrose
and Palmer. 


							John T. Boyd

							Senior Justice      
1. John T. Boyd, Chief Justice (Ret.), Seventh Court of Appeals, sitting by
assignment.  Tex. Gov't Code Ann. §75.002(a)(1) (Vernon Supp. 2003). 
2. The Jones parties call this meeting a "focus group" while appellants refer to it as
a "mock trial."  The substance of what took place at the meeting is essentially undisputed,
making the nomenclature irrelevant.  For simplicity, we will refer to it as a mock trial.
3.  This was the veterinarian at the 6666 Ranch who had authorized the Jones' use
of a conference room at the ranch.
4. Palmer's reliance upon Elston v. Sherman Coca Cola Co., 596 S.W.2d 215
(Tex.Civ.App.--Texarkana 1980, no writ), for the proposition that review of a denial of a
motion for new trial is de novo is misplaced.  The case actually held the question of injury
from juror misconduct is a question of law for the court.  Id. at 218.


